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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:15CR00063-02-JLH

CURTIS EARL EVANS, JR.                                                             DEFENDANT

                                          JUDGMENT

       Pursuant to the Opinion and Order entered separately today, the motion of Curtis Earl Evans,

Jr., to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 is DENIED. No certificate

of appealability will be issued.

       IT IS SO ORDERED this 29th day of December, 2016.


                                                     __________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
